Case 1:17-cv-03037-JMS-MJD Document 14 Filed 12/15/17 Page 1 of 1 PageID #: 53




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

Brandi Baxter,                      )
                                    )
             Plaintiff,             )
                                    )
      vs.                           ) Case No.:1:17-cv-3037-JMS-MJD
                                    )
Med-1 Solutions, LLC,               )
                                    )
             Defendant.             )
____________________________________)_____________________________________


                           ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to the Joint Stipulation of Dismissal with Prejudice filed by the Parties in this

cause, this cause of action is hereby dismissed with prejudice, with each party to bear their own

attorney fees and costs.




               Date: 12/15/2017




ECF notification:

Copies to electronically registered counsel of record.
